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 October 12, 2023

 Hon. Lesley Owen
 Hon. JT Skinner
 KKHBS, LLP

 Via Email Only

          RE: Mohawk Energy, LLC/Huobi

 Folks:

         We are in receipt of your letter of 10/11/23. As I have consistently reminded you,
 Mohawk and Huobi had frequently, often weekly, zoom meetings for the past year during which
 many of the initial contract terms and provisions were modified or discarded – primarily because
 of Huobi delays in payment or refusal to agree to specific necessary items which resulted in
 supply chain issues or lack of availability, and some due to weather conditions or other matters
 on the Mohawk side. Additionally, the parties refined the relationship as they moved through the
 fit-up and hosting process and learned that how the process worked in actuality did not always fit
 the model they had imagined before the process began.

         Huobi’s onsite supervisor, Mr. Wang, has been integrally involved in each step of this
 process and approved each modification or amendment. Your lack of understanding of the
 revised agreements appears wilfull at this point as you have had ample opportunity to discuss
 this with your clients and Mohawk and to review the notes and videos of those meetings.

        Huobi should already have a bill of sale for its own mining equipment. Mohawk did not
 buy that equipment and so cannot provide a bill of sale for the miners.

         As Mohawk has reminded you, the equipment used in fit-up for Huobi’s purposes does
 not belong to Huobi but was ordered and installed, at great cost in time, labor and monies to
 Mohawk. Huobi paid some portion of the purchase costs for those materials as well but cannot
 have a “bill of sale” for those as it does not own those. No bill of sale is owed to Huobi by
 Mohawk.




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                                                                                      p. 2

        Similarly, your client was well aware that Mohawk is purchasing the property, is the
 owner of the facility and is current on its purchase payments but that the seller, a Mohawk
 shareholder, will not provide a deed to the property until the full purchase price is paid. Because
 Huobi wanted this particular site, it agreed that the Mohawk purchase arrangement was
 permissible. Your client’s onsite representative participated in these discussions live and Huobi
 executives and counsel participated in these discussions and agreements via zoom. You have
 been advised of this but continue to claim otherwise. Your behavior is a serious impediment to
 any progress being made between our clients.

        As Mohawk reminded Huobi over a period of several months, labor and rent costs are
 past due. As Huobi declined to make those payments, Huobi employees cannot remain on the
 premises. Further, as the premises are a commercial space, housing is not permitted there.

         Mohawk looks forward to Huobi working with Bitmain or Mohawk or other partners to
 move forward with the mining. Mohawk affirms that it continues to act in good faith with
 regard to any exit or transition by Huobi or any proposed agreement for a successor in interest to
 Huobi’s tenancy.

         As you are aware, the plant has been ready to operate for a month but Huobi has declined
 to begin mining. This may be due in part to your erroneous advice to them that Mohawk can
 somehow “reduce” the utility rate. You even assert at p. 2 of your letter that this reduction in rate
 is one of the conditions of Huobi continuing to work with Mohawk on the project. As Kentucky
 Power’s attorney explained to Lesley and I months ago, this is not something that is possible.
 The rate is set by the utility company and approved by the PSC. Individual businesses cannot
 change that. This knowledge was part of the initial agreement and has been the subject of zoom
 meetings between the parties. Huobi is and has been well aware that Mohawk cannot
 unilaterally lower a utility rate. The applicable Kentucky statutes and administrative regulations
 and PSC guidelines also address this.

         Please be assured that Huobi’s mining machines are protected. Mohawk even continues
 to insure those despite the fact that Huobi breached its agreement to insure these machines and
 pay the utility bills required for the facility in which they are housed. Security measures
 including but not limited to presence of personnel, cameras, alarms and fences remain in place.
 Huobi’s agents or employees are free to ask Mohawk staff to supervise them as they tour the
 premises at any time to satisfy themselves of this.

        Once Huobi pays the past due rent and labor, it may provide proof of ownership of any
 machines it would like to remove from the facility. My experience with these tech company
 ownership changes has shown that often various former agents or employees show up
 demanding that they be permitted to remove the equipment from the premises although they have
 no legal right to the equipment. For this reason, Mohawk would ask for (a) proof of ownership;



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 (b) the complete inventory list with serial numbers; and (c) a receipt for the original purchase of
 the equipment.

        We look forward to your client’s cooperation as they either transition their lease and
 equipment to a third party agreeable to Mohawk, or buy out Mohawk’s multi-million dollar
 investment in the site, fit up, and contracting.



                                               Sincerely,



                                               Anna Whites




                                            EXHIBIT 5
